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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

JOSHUA ASHLIMAN AND KELLY ASHLIMAN,         §
EACH INDIVIDUALLY AND AS NEXT FRIENDS OF    §
B.A., H.A., AND L.A.; MACKENZIE ASHLIMAN;   §
SCOTT FOERSTER AND ALICIA FOERSTER, EACH    §
INDIVIDUALLY AND AS NEXT FRIENDS OF S.F.;   §
BAILEY FORE AND KRISTEN FOER, EACH          §
INDIVIDUALLY AND AS NEXT FRIEND OF K.F.     §     CASE NO. 5:22-CV-00106
AND B.F.; SIR CHRISTOPHER HOLLAND AND       §
ELISE HOLLAND, EACH INDIVIDUALLY AND AS     §
NEXT FRIENDS OF S.C.H. AND V.P.; JUSTIN     §
KRAFT AND KIMBERLY KRAFT, EACH              §
INDIVIDUALLY AND AS NEXT FRIENDS OF K.K.;   §
PATRICK MANNING AND NATALIA MANNING,        §
EACH INDIVIDUALLY AND AS NEXT FRIENDS OF    §
E.M.; RICHARD ROMETTY AND HEATHER           §
ROMETTY, EACH INDIVIDUALLY AND AS NEXT      §
FRIENDS OF M.R., A.R., AND A.R.; ,          §
                                            §
      PLAINTIFFS,                           §
                                            §
V.                                          §
                                            §
BALFOUR BEATTY COMMUNITIES LLC;             §
LACKLAND FAMILY HOUSING, LLC D/B/A          §
LACKLAND FAMILY HOMES; FORT BLISS/WHITE     §
SANDS MISSILE RANGE HOUSING LP D/B/A FORT   §
BLISS FAMILY HOMES; BBC MILITARY            §
HOUSING - BLISS/WSMR GENERAL PARTNER        §
LLC; AND BALFOUR BEATTY MILITARY            §
HOUSING MANAGEMENT, LLC,                    §
                                            §
      DEFENDANTS.                           §
                                            §
                                            §



 AGREED ORDER OF DISMISSAL AS TO PLAINTIFFS SIR CHRISTOPHER HOLLAND AND ELISE
        HOLLAND, AS NEXT FRIENDS OF S.C.H. AND V.P., WITHOUT PREJUDICE
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        Plaintiffs Sir Christopher Holland and Elise Holland, as Next Friends of S.C.H. and V.P.,

by and through their undersigned counsel, seek to dismiss all claims brought by Sir Christopher

Holland and Elise Holland, as Next Friends of S.C.H. and V.P., against all Defendants without

prejudice. The Court, having considered the motion, and being further advised that the parties to

this Order are in agreement, finds the unopposed motion well-taken.

        IT IS THEREFORE ORDERED that all claims brought by Plaintiffs Sir Christopher

Holland and Elise Holland, as Next Friends of S.C.H. and V.P., against all Defendants are

DISMISSED WITHOUT PREJUDICE, with each party to bear its own fees and costs. Nothing

in this order shall affect the claims of any other Plaintiff in this case.


                                       3rd day of ________________,
        SO ORDERED AND ADJUDGED, this ____             March        2023



                                                HON. XAVIER RODRIGUEZ
                                                UNITED STATES DISTRICT JUDGE



AGREED:

/s/ Jennifer A. Neal
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Francisco Guerra, IV., State Bar No. 00796684
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Lackland Family Homes; Fort Bliss/White Sands
Missile Range Housing LP D/B/A Fort Bliss Family
Homes; BBC Military Housing – Bliss/WSMR General
Partner LLC; Balfour Beatty Military Housing
Management, LLC




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